                                                                                                                                      1000.002
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                                    Retrieval of Archived Video
                                    Directive#'.            1000.002                                         Effective Date:   02/06/2015
                                    Initiating Unit:        Security Services Bureau                         Review Date:      1 st February
                                    CALEA:                  N/A



                                                                                            camera video footage to include the dissemination of
     Contents
                                                                                        33
 1                                                                                      34  footage through established channels. Prescribed law
                                                                                        35 enforcement purposes for the CP-411 include:
 2 Authority and Coverage ............................................... 1             36 required for court, subpoena, Office of Professional
 3 Definition(s) .................................................................. 1   37 Responsibility (QPR), or training, but may include any
 4 General Policy .............................................................. 1      38 authorized investigation. This policy will identify the
 s   Requesting Archived Video Footage ....................... 2                        39 parties that are able to request video (USCP sworn
 6   Accessing Archived Video Footage ......................... 2                       .;o officials or their civilian equivalent) and the role of the
 7 Responsibilities/Procedures ........................................ 2               41 Security Services Bureau {SSB) and Chief of
 a   Security Services Bureau......................................... 2                42 Operations (COO) in assuring that any request for
 9 Additional Information .................................................. 2          43 disseminating archived video follows an appropriate
10 Cancellation ................................................................. 2     44 business purpose.
11 Appendices .................................................................. 2
12                                                                                      45 The USCP was tasked by its statutory oversight
                                                                                        46 committees to expand the video retrieval capabilities of

     Authority and Coverage
                                                                                        47 the Capitol Complex. The design, installation, and
13                                                                                      48 maintenance of this system are delegated to the SSB.
                                                                                        49 The Capitol Police Board directed that cameras would
14 The Chief of Police is the chief executive officer of the                            50 only be used for matters related to national security
1 s United States Capitol Police (USCP) and is                                          51 and legitimate law enforcement purposes (e.g., serious
16 responsible for the day-to-day operation and                                         52 crimes). The COO is the sole authority for the approval
17 administration of the USCP.                                                          53 of any and all requests for archived video footage, with
                                                                                        54 the exception of the Office of the Inspector General
1 s This policy may be revised at the discretion of the                                 55 (OIG) which has the ability to duplicate archived video
19  Chief of Police, consistent with applicable law, rule,                              56 footage for its own investigations.
20 and regulation.
                                                                                        57   In addition, this policy identifies the expectations for

21   Definition(s)                                                                      58
                                                                                        59
                                                                                             accessing and using video footage. This policy does
                                                                                             not apply to the use of video as an operational aid
                                                                                        60   (e.g., supporting the USCP Command Center
22   CP-411 Request for Copy/Review of Video                                            61   Operations during an incident). Instead, this policy is
23   Recordings. A form created by the USCP to                                          62   intended to safeguard against the transfer of archival
24   document and control the request and dissemination                                 63   video for non-operational activities (e.g., as an aid to
25   or archived video footage.                                                         64   officers in filing reports). Video footage received
                                                                                        65   through an approved request should not be delivered,

26   General Policy                                                                     66
                                                                                        67
                                                                                             copied, or transmitted to anyone other than necessary
                                                                                             parties {e.g., court, General Counsel) without approval
                                                                                        68   from the COO.
27 The Department must maintain appropriate internal
2s controls on the use and duplication of archived video                                69 The USCP, through SSB, maintains a sophisticated
29 footage to ensure the chain of custody for all copied                                10 closed circuit television system (CCTV) system that
30 video footage. In support of national security and                                   71 includes cameras strategically placed throughout the
31 legitimate law enforcement purposes, the Department                                  72 Capitol Complex to provide situational awareness to
32 adjudicates any and all requests for recorded security

                                                                          Law Enlorcemenl Sensitive                                             Att. 1
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